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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

EVANGELICAL LUTHERAN CHURCH
IN AMERICA,
                                                         Case No.
       a duly organized non-profit
       religious organization,
       8765 West Higgins Road
       Chicago, Illinois 60631-4177

and

SUHAIL S. QUMRI,
     7930 N. Oketo Avenue
     Niles, Illinois 60714

                                   PLAINTIFFS,
vs.

IMMIGRATION AND NATURALIZATION SERVICE
OF THE UNITED STATES OF AMERICA,
     c/o James Ziglar, Commissioner
     425 I (“Eye”) Street, NW
     Room 7100
     Washington, D.C. 20536
 and
THE DEPARTMENT OF JUSTICE OF THE UNITED
STATES OF AMERICA,
     c/o John Ashcroft, Attorney General
     1100 L Street, NW,
     Room 8035
     Washington, D.C. 20530

                           DEFENDANTS.
____________________________________________/

                                       COMPLAINT

       This is a Complaint for Declaratory and Injunctive Relief, pursuant to 28 U.S.C.

1331, 28 U.S.C. 2201, 5 U.S.C. 551 et. seq., 5 U.S.C. 701 et seq., for a Writ of
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Mandamus, pursuant to 28 U.S.C. 1361, and for Declaratory and Injunctive Relief for

violations of the Administrative Procedures Act (hereinafter “APA”), 5 U.S.C. 701 et seq.

& 501, et seq., the Freedom of Information Act, (hereinafter “FOIA”), 5 U.S.C. 552, and the

Due Process Clause of the Fifth Amendment to the United States Constitution (hereinafter

“Due Process Clause”).


       1.     Plaintiffs, EVANGELICAL LUTHERAN CHURCH IN AMERICA (hereinafter

“ELCA”) and SUHAIL S. QUMRI (hereinafter “QUMRI”), allege by this action that

Defendants, Immigration and Naturalization Service (hereinafter “INS” or “Service”) and the

Department of Justice of the United States of America (hereinafter “DOJ”) violated a

mandatory regulation promulgated by Defendants which provides that “[a] beneficiary [of an

H-1B petition] shall be admitted to the United States for the validity period of the petition,

plus a period of up to 10 days before the validity period ends.” 8 C.F.R. 214.2(h)(13)(i)(A).

As a result of Defendants’ violation of 8 C.F.R. 214(h)(13)(i)(A), Plaintiffs have suffered and

will continue to suffer damage and irreparable injury, for which they seek declaratory and

injunctive relief, and/or a writ of mandamus.


        2.    Plaintiffs further allege that Defendants’ interpretation of 8 C.F.R. 214.1(c)(4),

an INS regulation authorizing the Service to excuse the late filing of a request to extend an

alien’s stay in the United States if certain criteria are met, adds two impossible-to-satisfy

eligibility requirements that are not set forth in the regulation. Defendants’ de facto

revocation of 8 C.F.R. 214.1(c)(4), without any prior notice or opportunity for public

comment, constitutes a violation of the APA, the FOIA and the Due Process Clause. As a

result of Defendants’ unlawful interpretation of 8 C.F.R. 214.1(c)(4), Plaintiffs have suffered

and will continue to suffer damage and irreparable injury, for which they seek declaratory




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and injunctive relief, and/or a writ of mandamus.



                                    JURISDICTION AND VENUE


       3.       The subject matter jurisdiction for this Court is invoked under 28 U.S.C.

1331, 1361, 1367(a) and 2201, 5 U.S.C. 701 et seq., and 5 U.S.C. 501 et seq.


       4.       Venue is proper in this district pursuant to 28 U.S.C. 1391(e)(1) and

1391(e)(2), as Defendants are agencies of the federal government and located in the

District of Columbia.



                                               PARTIES


       5.       Plaintiff ELCA is a duly organized non-profit religious organization,

organized pursuant to the laws of the State of Minnesota, having its principal place of

business in Chicago, Illinois. ELCA has more than 5.2 million members belonging to over

11,000 congregations, making ELCA the fifth largest Christian church body in the United

States.


       6.       Plaintiff QUMRI is a citizen of Israel who has been a full-time employee of

ELCA since June 15, 1998. QUMRI resides in Chicago, Illinois with his wife and is

employed by ELCA in the position of Senior Financial Systems Analyst.


       7.       Defendant INS is an agency of the federal government within the Department

of Justice. The INS is the federal agency charged with implementing the Immigration and

Nationality Act (hereinafter “INA”), 8 U.S.C. 1101, et seq. Pursuant to this authority, the INS

adjudicates petitions for immigrant and nonimmigrant status and applications for other




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protections and benefits provided under the INA, including petitions for professional

workers in the H-1B nonimmigrant “Specialty Occupation Workers” classification, and the

admission of such aliens to the U.S.


       8.     Defendant DOJ, through the Attorney General, is charged with the

responsibility for the administration and enforcement of the INA, pursuant to 8 U.S.C.

1103(a), including timely rulemaking and the interpretation, application and enforcement of

the INA. Pursuant to 8 U.S.C. 1184(a)(1), “the admission to the United States of any alien

as a nonimmigrant shall be for such time and under such conditions as the Attorney

General may by regulations prescribe.” Thus, the admission of H-1B aliens to the U.S. is

governed by regulations promulgated by the Attorney General.


       9.     An actual controversy has arisen and now exists between the parties relating

to their rights and duties. Plaintiffs have exhausted their administrative remedies and no

further administrative remedy exists to cure the unlawful conduct of the Defendants as

alleged herein.



                                   FACTUAL ALLEGATIONS


       10.    In May 1998, QUMRI earned a Bachelor of Science degree in Accounting

from North Park University, in Chicago, Illinois. He became a full-time of employee of

ELCA on June 15, 1998. At that time, he was in F-1 (student visa) status with optional

practical training work authorization valid from May 26, 1998 through May 25, 1999.


       11.    On December 9, 1998, ELCA submitted an H-1B petition on QUMRI’s behalf

for the position of Financial Systems Analyst, along with a request for a three-year

extension of QUMRI’s stay in the United States and a change of his status to H-1B for a




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period of three years. The Defendants normally grant H-1B status, and a corresponding

extension of stay, for a period of three years. However, due to Defendants’ delay in

processing ELCA’s petition, Defendants did not approve the petition until April 6, 1999,

and the Approval Notice granted ELCA an H-1B validity period of less than three years,

from April 2, 1999 through November 1, 2001, and granted QUMRI an extension of stay

until November 1, 2001.


        12.   In April 1999, QUMRI departed the United States and applied for an H-1B

visa in Israel. Based on the H-1B petition Approval Notice issued by Defendants, the U.S.

Consulate in Jerusalem issued QUMRI an H-1B visa valid from April 29, 1999 through April

28, 2000, which it immediately cancelled without prejudice because it set forth an incorrect

passport number. Shortly thereafter, the Consulate issued QUMRI an H-1B visa valid from

May 3, 1999 through May 2, 2000. The visa erroneously states the H-1B petition expiration

date (PED) as January 11, 2001. Apparently, the Consulate transposed the numbers “1”

and “11”. The actual PED was November 1, 2001.


        13.   When QUMRI entered the United States in Chicago on May 4, 1999, he

showed the H-1B petition approval, as well as his passport with the H-1B visa stamps, to

the INS inspector. Pursuant to INS regulations, the Inspector, upon finding QUMRI

admissible, was required by regulation to endorse QUMRI’s I-94 Arrival and Departure

Record (hereinafter “I-94 card”) with an expiration date of November 11, 2001,

corresponding to the expiration date of the H-1B petition approval, plus ten days.

However, the Inspector erroneously entered on the I-94 card an expiration date of April 27,

2000.


        14.   The Defendants have established a policy known as the “last action taken”

rule. According to this established policy, QUMRI’s authorized stay in the United States




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was determined by the endorsement on his I-94 card authorizing his stay until April 27,

2000, rather than the earlier I-94 issued on the bottom of the H-1B Approval Notice,

authorizing his stay until November 1, 2001.


       15.     When ELCA filed the H-1B petition on behalf of QUMRI in December 1998, it

did not select its own outside immigration counsel, but relied on an attorney selected by

QUMRI. ELCA was not advised by that attorney of any due date for filing a petition for

extension on behalf of QUMRI. ELCA employs at least 472 full-time employees and 39

part-time employees. However, it only employs two H-1B employees, including QUMRI.

Due to the Church’s inexperience with H-1Bs, it did not have in place a calendaring system

and, until recently, did not employ its own outside counsel, to monitor compliance with H-1B

filing dates for extensions.

       16.     QUMRI was confused concerning the expiration of his H-1B status. Due to

an INS processing delay, the initial H-1B petition was approved for only a two-and-a-half

year period, from April 2, 1999 through November 1, 2001, although the H-1B petition had

asked for a three-year approval period and extension of stay. QUMRI’s practical training

was valid through May 1999. He assumed his H-1B status, and his stay in the United

States, was valid and authorized for three years, from April 1999 through April 2002. The

various immigration documents issued to QUMRI did not provide him with clear guidance

regarding his immigration status. There were no less than seven different expiration dates

set forth in QUMRI’s various immigration documents, namely his visas, I-94s, INS Approval

Notice, Labor Condition Application (hereinafter “LCA”) and work authorization.

       17.     In addition to being confused about the expiration of his H-1B status, QUMRI,

a Palestinian Christian, experienced fear and anxiety following the tragic events of




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September 11, 2001. QUMRI was also fearful and anxious for his family in Israel in view of

the violent events that were taking place there. These distractions contributed to QUMRI’s

failure to discover the expiration of his H-1B status.

       18.    ELCA and QUMRI learned of the expiration of QUMRI’s petition approval on

or about December 3, 2001. Within a few days, ELCA hired its own outside immigration

counsel on the QUMRI matter and worked diligently with its counsel to complete a petition

to extend QUMRI’s H-1B status and his stay in the United States. The petition was filed

with the INS on January 4, 2002.


       19.    As part of the process of petitioning for an H-1B petition extension, ELCA

submitted an LCA to the U.S. Department of Labor (hereinafter “DOL”). The DOL is the

government agency responsible for approving LCA’s. Approved LCA’s are required to be

submitted to the INS when petitioning the INS for the H-1B “Specialty Occupation Worker”

nonimmigrant visa classification, and when petitioning the INS for an extension of H-1B

status. Shortly after learning of the need to extend QUMRI’s H-1B status, ELCA submitted

an LCA to the DOL for QUMRI’s position of Senior Financial Systems Analyst. The DOL

approved the LCA on December 21, 2001, valid through October 31, 2004.


       20.    ELCA submitted the approved LCA to the INS together with its petition to

extend QUMRI’s H-1B status. ELCA’s petition asked the INS to correct its error and to rule

that QUMRI’s initial H-1B status was valid at least until November 1, 2001, rather than April

27, 2000, as erroneously endorsed by the INS Inspector at the port of entry.


       21.    ELCA’s petition also asked the INS to excuse the two-month delay in filing

the petition based on excusable neglect, as authorized by INS regulations. See 8 C.F.R.

214.1(c)(4). ELCA’s letter in support of the request for an extension of QUMRI’s stay




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explained the circumstances surrounding the late filing of the petition, including the

Church’s failure to calendar the H-1B expiration and the delay necessitated by having

newly retained counsel research the factual and legal issues presented by the case.

ELCA’s letter in support of the extension of stay also explained QUMRI’s confusion

concerning the expiration of his H-1B status.


       22.    In addition, ELCA’s letter identified the clear and prejudicial Service error

that occurred when the INS Inspector endorsed QUMRI’s I-94 card with an expiration date

of April 27, 2000, although the underlying H-1B petition was valid through November 1,

2001. The I-94 expiration date governs an alien’s lawful, and unlawful, presence in the

United States. Therefore, as a result of the INS’s error, QUMRI, through no fault of his own,

had accumulated unlawful presence since April 28, 2000. The letter pointed out that if the

Service failed to rectify its error, QUMRI would be subject to a statutory provision barring

him from re-entering the United States for a period of ten years. See 8 U.S.C.

1182(a)(9)(B). Under the statute, an alien who was unlawfully present in the United States

for more than 180 days, but less than one year, is barred from re-entering the United States

for a period of three years, and an alien with a year or more of unlawful presence is subject

to a ten-year re-entry bar.


       23.    Because of the complexity of the issues surrounding the petition, and

intervening national holidays, ELCA filed its petition for an H-1B extension and an

extension of QUMRI’s stay on January 4, 2002, as reflected on the premium processing

receipt notice generated by Defendants.


       24.    On January 7, 2002, the INS’ Nebraska Service Center (hereinafter “NSC”)

granted the H-1B petition extension through October 31, 2004. However, it denied the

request for an extension of stay. The “Notice of Action” issued by the NCS stated that




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QUMRI was ineligible for an extension of his stay in the United States, and therefore he

would need to return to Israel to apply for an H-1B visa. Of course, the INS was well aware

that if QUMRI left the United States he would be subject to a ten-year reentry bar.


       25.    In a letter that accompanied the “Notice of Action,” the NSC explained the

purported reasons for its denial of the request to extend QUMRI’s stay. The letter was

silent regarding the issues of excusable neglect, the circumstances surrounding the late

filing of the request to extend QUMRI’s stay, and the Service error that resulted in QUMRI

accumulating unlawful presence since April 28, 2000. Instead, the letter set forth two

reasons for the denial. First, the NSC stated that QUMRI had allowed his H-1B status to

lapse on November 1, 2001, and therefore he was ineligible for an extension of stay.

Secondly, the NSC stated that it was unable to approve the requested extension of stay

retroactive to November 1, 2001 because the LCA was not approved by the DOL until

December 21, 2001.


       26.    ELCA timely filed a Motion to Reconsider or Reopen the NSC’s decision on

February 7, 2002. The Motion to Reconsider asked the NSC to reconsider its legally

incorrect decision and to address the issues and circumstances which it had failed to

address in its denial letter. In addition, the Motion asked the NSC to determine that

QUMRI’s stay in the United States was lawful since April 28, 2000. The motion also asked

the NSC to determine that QUMRI would not accrue unlawful presence during the time he

and ELCA sought to correct the Service’s error, i.e., from January 4, 2002 until Plaintiffs

exhausted their administrative and judicial remedies.


       27.    ELCA’s Motion to Reopen was based on new evidence set forth in QUMRI’s

affidavit, which was attached to the Motion. This new evidence, concerning the devastating




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effect the events of September 11, 2001 had on QUMRI, established an additional basis

for a finding of excusable neglect.


        28.   On March 6, 2002, the NSC issued a decision denying the relief ECLA

sought in its Motion to Reconsider or Reopen. The written decision once again failed to

address the issues raised by ELCA. Instead, the NSC merely reiterated its position that

QUMRI’s stay could not be extended because he had allowed his status to expire on

November 1, 2001. Both the denial of January 7, 2002 and the March 6, 2002 denial of

ELCA’s Motion to Reconsider or Reopen completely failed to address the issue of ELCA’s

excusable neglect.


        29.   On April 5, 2002, ELCA and QUMRI filed a Notice of Appeal to the INS

Administrative Appeals Office (hereinafter “AAO”). The NSC accepted the Notice and

generated a receipt notice dated April 5, 2002. However, on May 16, 2002 the NSC

issued a letter stating that a denial of an extension of nonimmigrant stay is not

administratively appealable and therefore the appeal was being treated as a Motion to

Reopen. The NSC did not avail itself of the opportunity to certify its decision to the AAO,

pursuant to 8 C.F.R. 103.4(a). The NSC’s letter stated that the Motion to Reopen was

denied on the grounds, once again, that QUMRI had allowed his H-1B status to expire on

November 1, 2001. The NSC also issued a “Notice of Action” dated May 16, 2002

approving ELCA’s petition for an H-1B extension through October 31, 2004, but denying

the request to extend QUMRI’s stay on the grounds of ineligibility. With the exception of the

date of the Notice of Action, it was identical to the one issued by the NSC dated January 7,

2002.


        30.   8 C.F.R. 214.2(h)(13)(i)(A), referring to the admission of aliens to the United

States in the H-1B visa classification, provides:




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              A beneficiary shall be admitted to the United States for the
              validity period of the petition, plus a period of 10 days before
              the validity period begins and 10 days after the validity period
              ends.


       31.    The Defendants are familiar with the federal laws governing the INS and their

own regulations, and they are bound to follow those laws and regulations when discharging

their responsibilities regarding the admission of H-1B aliens to the United States.

Pursuant to 8 U.S.C. 1184(a)(1), “the admission to the United States of any alien as a

nonimmigrant shall be for such time and under such conditions as the Attorney General

may by regulations prescribe.” The Defendants’ failure to correct the erroneous

endorsement on QUMRI’s I-94 card, when requested to do so by Plaintiffs, constitutes a

violation of 8 C.F.R. 214.2(h)(13)(i)(A) and 8 U.S.C. 1184(a)(1).


       32.    8 C.F.R. 214.1(c)(4) provides:

                      Timely filing and maintenance of status. An extension of
              stay may not be approved for an applicant who failed to
              maintain the previously accorded status or where such status
              expired before the application or petition was filed, except that
              failure to file before the period of previously authorized status
              expired may be excused in the discretion of the Service and
              without separate application, with any extension granted from
              the date the previously authorized stay expired, where it is
              demonstrated at the time of filing that:

                     (i) The delay was due to extraordinary circumstances
              beyond the control of the applicant or petitioner, and the
              Service finds the delay commensurate with the circumstances;

                   (ii) The alien has not otherwise violated his or her
              nonimmigrant status;

                     (iii) The alien remains a bona fide nonimmigrant;

                     and




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                       (iv) The alien is not the subject of deportation
                proceedings under section 242 of the Act (prior to April 1,
                1997), or removal proceedings under section 240 of the Act.


        33.     The NSC’s decision stated that Plaintiffs were not eligible for excusable

neglect relief from the untimely filed request to extend QUMRI’s stay, under 8 C.F.R.

214.1(c)(4), because QUMRI had allowed his status to expire on November 1, 2001 and

because the LCA was approved by the DOL for a period beginning on December 12,

2001. Thus, Defendants’ interpretation of 8 C.F.R. 214.1(c)(4) added two additional

eligibility criteria not set forth in the regulation, to wit:


        a.      The alien on whose behalf an extension is being sought must be in valid

                status when the request for excusable neglect relief is filed; and


        b.      A DOL-approved LCA must be valid retroactively to the date the alien’s

                previous status expired.


        34.     The first additional eligibility criteria imposed by Defendants is on its face

impossible for an alien to satisfy when invoking 8 C.F.R. 214.1(c)(4). By its very nature,

excusable neglect relief is sought in connection with an untimely request to extend an

alien’s status. Thus, under Defendants’ interpretation of 8 C.F.R. 214.1(c)(4), every alien

for whom excusable neglect relief is sought will be ineligible for the relief authorized by the

regulation.


        35.     The second additional eligibility criteria imposed by Defendants is also

impossible to satisfy. The DOL is not authorized to approve an LCA retroactively to a prior

date. 20 C.F.R. 655.750(a) (“[I]n no event shall the validity period of a labor condition

application begin before the application is certified…”). Therefore, under Defendants’

interpretation of 8 C.F.R. 214.1(c)(4), every alien for whom excusable neglect relief is




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sought will have an LCA approval dated after his or her previous status expired and

therefore will be ineligible for the relief authorized by the regulation.


       36.     Having promulgated a regulation authorizing a late filed request for an

extension of stay to be approved retroactively to the date the alien’s previous status

expired, the Defendants are bound to apply the eligibility criteria set forth in the regulation

and only those criteria. See 8 U.S.C. 1184(a)(1). The Defendants’ interpretation of 8

C.F.R. 214.1(c)(4), which adds two additional and impossible-to-satisfy eligibility criteria

not set forth in the regulation, renders the regulation inoperable and therefore constitutes a

de facto revocation of the regulation. This de facto revocation of 8 C.F.R. was

accomplished by the Defendants without any prior notice or opportunity for public

comment.


       37.     As a result of the Defendants’ unlawful actions, ELCA and QUMRI have been

extremely prejudiced and are suffering irreparable injury in that:


       a.      ELCA can no longer lawfully employ QUMRI, and therefore will be unable to

               benefit from his professional services as a Senior Financial Systems

               Analyst, and faces imminent employer sanctions by the Defendants;


       b.      QUMRI can no longer be lawfully employed by ELCA or any other employer

               in the United States, and therefore is deprived of the ability to earn a

               livelihood in the United States, where he has been educated and trained for

               his profession as a Senior Financial Systems Analyst;


       c.      QUMRI is subject to being detained and removed from the United States;


       d.      QUMRI must leave the United States, where he now resides with his wife and

               has substantial ties to the community. He will be unable to return for a period



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                of ten years, since he has accrued over two years of unlawful presence in the

                United States and therefore is subject to a ten-year re-entry bar pursuant to 8

                U.S.C. 1182(a)(9)(B).


       38.      Plaintiffs seek a declaration that the Defendants’ unlawful and prejudicial

actions constitute a violation of the following authorities:


       a.       8 C.F.R. 214.2(h)(13)(i)(A);


       b.       8 C.F.R. 214.1(c)(4);


       c.       8 U.S.C. 1184(a)(1);


       d.       The Due Process Clause of the Fifth Amendment to the U.S. Constitution;


       e.       The APA, 5 U.S.C. 706(2)(A), in that it is “arbitrary, capricious, an abuse of

                discretion, or otherwise not in accordance with law”;


       f.       The APA, 5 U.S.C. 706(2)(B), in that it is “contrary to a constitutional right,

                power, privilege, or immunity”, namely, the Due Process Clause;


       g.       The APA, 5 U.S.C. 706(2)(C), in that it is “in excess of statutory jurisdiction,

                authority, or limitations, or short of statutory right”;


       h.       The APA, 5 U.S.C. 706(2)(D), in that it is “without observance of procedure

                required by law”;


       i.       The FOIA, 5 U.S.C. 552(a)(1)(E), in that the Defendants have by their

                interpretation effectively amended or repealed a published regulation without

                providing prior notice or opportunity for public comment;




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      j.       The FOIA, 5 U.S.C. 552(a)(2), in that Defendants have utilized rules or

               policies not published or otherwise made available to the public;


      k.       The APA, 5 U.S.C. 553, in that the Defendants have engaged in rulemaking,

               by adopting additional eligibility criteria to 8 C.F.R. 214.1(c)(4) that are not

               set forth in the published regulation, without complying with the notice and

               comment provisions of the APA;


      l.       The APA, 5 U.S.C. 555(e), in that the Defendants have denied relief sought

               by Plaintiffs without providing a meaningful explanation of the grounds for the

               denial.


      39.      Plaintiffs seek preliminary and permanent injunctive relief, and/or a writ of

mandamus. Plaintiffs seek a permanent injunction, and/or a writ of mandamus requiring

Defendants:


      a.       to issue a determination that QUMRI was in lawful status, and lawfully

               employed by ELCA, from April 28, 2000 until November 11, 2001, pursuant

               to 8 C.F.R. 214.2(h)(13)(i)(A);


       b.      to issue a determination that QUMRI’s stay in the United States, and his

               employment by ELCA, was lawful during all periods of time during which he

               sought to compel the Defendants to correct their violation of 8 C.F.R.

               214.2(h)(13)(i)(A), i.e., from January 4, 2002 until this action becomes final;


       c.      to reconsider ELCA’s excusable neglect request for a retroactive extension

               of stay, upon remand, by applying the criteria set forth in 8 C.F.R.

               214.1(c)(4), and only those criteria.




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       40.     In order to maintain the status quo pending the permanent relief sought

herein, the Plaintiffs seek a preliminary injunction, pursuant to Rule 56 of the Federal Rules

of Civil Procedure, to enjoin the Defendants and their agents, servants and employees

from taking any adverse actions against ELCA and QUMRI as a result of alleged unlawful

employment and/or presence, including any of the following possible adverse actions:


       a.      employer sanctions against ELCA;


       b.      detention of QUMRI;


       c.      removal of QUMRI from the United States.


       Further, Plaintiffs seek a preliminary injunction allowing QUMRI to remain in the

United States and continue his employment by ELCA without any adverse actions or

interference by the Defendants, their agents, servants or employees, against ELCA or

QUMRI, pending the final outcome of this lawsuit.



             COUNT I – DEFENDANTS’ FAILURE TO ADMIT QUMRI UNTIL 11/11/01


       41.     Plaintiffs re-aver and re-allege each and every allegation set forth in

paragraphs 1 through 40 above as if the same were set forth in full herein.


       42.     This is an action for declaratory relief pursuant to 28 U.S.C. 2201(a) and

2202, for injunctive relief pursuant to this Court’s equitable powers and the APA, and/or for

a writ of mandamus pursuant to 28 U.S.C. 1361.


       43.     Defendants failed to admit QUMRI until November 11, 2001, in plain violation

of 8 C.F.R. 214.2(h)(13)(i)(A) and 8 U.S.C. 1184(a)(1). Taken together, these statutory

and regulatory provisions require the Defendants to admit an H-1B alien for the validity



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period of the H-1B petition, plus ten days. When QUMRI re-entered the United States on

May 4, 1999 after a brief trip to Israel, the INS Inspector at the port of entry erroneously

endorsed his I-94 card with an expiration date of his authorized stay of April 27, 2000.

Plaintiffs brought this error to the Defendants’ attention and requested a determination that

his stay in the United States was lawful until November 2001, when his H-1B petition

approval expired. However, the Defendants ignored the Plaintiffs’ request and denied the

relief sought without explanation, notwithstanding Plaintiffs’ clear legal right to the relief they

sought and the extremely harsh consequences Plaintiffs would suffer in the absence of the

requested relief.


       44.     Defendants failed to follow their own regulation, 8 C.F.R. 214.2(h)(13)(i)(A),

which mandates that an alien be admitted for the full validity period of the H-1B petition,

plus ten days. This failure to follow a mandatory regulation constitutes a violation of several

provisions of the APA, the FOIA and the Due Process Clause. Defendants’ decision to

deny relief to which Plaintiffs were clearly entitled was unlawful, arbitrary, capricious, an

abuse of discretion, not in accordance with law and unconstitutional.


       45.     As a result of the Defendants’ deliberate disregard of their duties under the

INA and their own regulations, Plaintiffs have been severely prejudiced and will continue to

suffer irreparable harm in the future. Thus, an actual controversy has arisen and now exists

between the parties relating to their respective rights and duties.


       46.     There is a bona fide, actual, present, adverse controversy and Plaintiffs are

without an adequate remedy at law. Plaintiffs request this Court to declare their rights

under the INA and the regulations promulgated by the Defendants, and to grant injunctive

relief and/or a writ of mandamus commanding the Defendants to determine that QUMRI’s




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stay in the United States, and his employment by ELCA, was lawful from April 28, 2000

until November 11, 2001.


       47.    In addition, fairness and equity dictate that Defendants be commanded to

determine that QUMRI’s stay in the United States, and his employment by ELCA, was

lawful, during the period of time he has sought to compel Defendants to perform a duty

required by law, i.e., from January 4, 2001 until this action becomes final. Plaintiffs should

not suffer any prejudice as a result of Defendants’ unlawful resistance of the performance of

their mandatory duties under applicable statutes and regulations. It is within the Court’s

equitable powers to grant relief from such unfair prejudice.


       WHEREFORE, Plaintiffs respectfully request the Court to grant the following relief:


       A.     Declare that Defendants’ refusal to admit QUMRI until November 11, 2001,

notwithstanding a mandatory regulation requiring that they do so, was unlawful, arbitrary,

capricious, an abuse of discretion, not in accordance with law, and unconstitutional, in

violation of the APA, the FOIA and the Due Process Clause;


       B.     Issue a preliminary injunction allowing QUMRI to remain in the United States

and continue his employment by ELCA without any adverse actions or interference by the

Defendants, their agents, servants or employees, against ELCA or QUMRI, pending the

final outcome of this lawsuit;


       C.     Issue a permanent injunction, and/or a writ of mandamus, commanding

Defendants to issue a written determination that QUMRI’s stay in the United States, and his

employment by ELCA, was lawful from April 28, 2000 until November 11, 2001;




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       D.      Issue a permanent injunction commanding Defendants to issue a written

determination that QUMRI’s stay in the United States, and his employment by ELCA, was

lawful from January 4, 2002 until the final disposition of this lawsuit;


       E.      Schedule a hearing within twenty (20) days on a preliminary injunction;


       F.      Award reasonable attorney’s fees and costs;


       G.      Grant such further relief as this Court deems just and proper.



        COUNT II – DEFENDANTS’ DE FACTO REVOCATION OF THE EXCUSABLE
                   NEGLECT REGULATION, 8 C.F.R. 214.1(c)(4)


       48.     Plaintiffs re-aver and re-allege each and every allegation set forth in

paragraphs 1 through 47 above as if the same were set forth in full herein.


       49.     This is an action for declaratory relief pursuant to 28 U.S.C. 2201(a) and

2202, for injunctive relief pursuant to this Court’s equitable powers and the APA, and/or for

a writ of mandamus pursuant to 28 U.S.C. 1361.


       50.     In their written decisions denying ELCA’s request to extend QUMRI’s stay,

pursuant to the excusable neglect regulation, 8 C.F.R. 214.1(c)(4), Defendants stated that

QUMRI was ineligible for the relief sought because he failed to maintain lawful status prior

to the filing of the request and because the LCA submitted by ELCA was not approved

retroactively to the expiration of QUMRI’s previous status. In so ruling, Defendants

imposed two additional eligibility criteria not set forth in the governing regulation. These

additional eligibility criteria are impossible for QUMRI and ELCA, or any other alien and his

or her employer seeking excusable neglect relief, to satisfy. Therefore, by rendering 8




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C.F.R. 214.1(c)(4) inoperable, Defendants have effectively amended or revoked the

regulation, without affording any prior notice or opportunity for public comment.


       51.     Defendants’ actions constitute a violation of several provisions of the APA,

the FOIA and the Due Process Clause. Defendants’ actions were unlawful, arbitrary,

capricious, an abuse of discretion, not in accordance with law, and unconstitutional.


       52.     As a result of Defendants’ deliberate disregard of their duties under the INA

and their own regulations, the Plaintiffs have been severely prejudiced and are suffering

and will continue to suffer irreparable harm in the future. Thus, an actual controversy has

arisen and now exists between the parties relating to their respective rights and duties.


       53.     There is a bona fide, actual, present, adverse controversy and Plaintiffs are

without an adequate remedy at law. Plaintiffs request this Court to declare their rights

under the INA and the regulations promulgated by the Defendants, and to grant injunctive

relief and/or a writ of mandamus commanding the Defendants to reconsider ELCA’s

request for excusable neglect relief by applying the eligibility criteria set forth in 8 C.F.R.

214.1(c)(4), and only those criteria.


       WHEREFORE, Plaintiffs respectfully request the Court to grant the following relief:


       A.      Declare that Defendants’ interpretation of 8 C.F.R. 214.1(c)(4) added two

impossible-to-satisfy eligibility criteria, without affording the required notice and opportunity

for public comment, that this interpretation of the regulation was unlawful, arbitrary,

capricious, an abuse of discretion, not in accordance with law, and unconstitutional, and

violated the APA, the FOIA and the Due Process Clause;


       B.      Issue a preliminary injunction allowing QUMRI to remain in the United States

and continue his employment by ELCA without any adverse actions or interference by the



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Defendants, their agents, servants or employees, against ELCA or QUMRI, pending the

final outcome of this lawsuit;


       C.      Issue a permanent injunction, and/or a writ of mandamus, commanding

Defendants to reconsider ELCA’s request for excusable neglect relief by applying the

eligibility criteria set forth in 8 C.F.R. 214.1(c)(4), and only those criteria;


       D.      Schedule a hearing within twenty (20) days on a preliminary injunction;


       E.      Award reasonable attorney’s fees and costs;


       F.      Grant such further relief as this Court deems just and proper.

       Dated: June , 2002.

                                              Respectfully submitted,

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                                              By: ________________________
                                                 DAVID B. PAKULA, ESQ.



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                                Florida Bar No. 712851
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